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                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION


ANTHONY OLIVER,

        Plaintiff,

V.                                               CASE NO. CV419-063


LYFT, INC.,

        Defendant




                                 ORDER


     In November 2018, Plaintiff Anthony Oliver brought this action

in the United States     District Court for the      Northern   District of

California. (Doc. 1.) On March 19, 2019, the District Court for the

Northern District of California transferred the case to this Court.


(Doc. 93.) For the following reasons. Plaintiff's complaint (Doc. 1)

is DISMISSED WITHOUT PREJUDICE.


     On October 21, 2019, this Court adopted Magistrate Judge Ray's

Report    and   Recommendation   and   imposed   several   restrictions   on

Plaintiff, including:

  (1)    In addition to paying the Court's filing fee, Oliver

         must post a $1,000 contempt bond         with the Clerk of

         Court. In this case, he should post the required bond

         within fourteen days of the District Judge's adoption

         of this recommendation, or as ordered by the District

         Judge. This bond will be held by the Clerk of Court

         and, if Plaintiff has conducted the affairs in his case
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   appropriately, the bond will be returned to him at its

   conclusion;


   If Plaintiff fails to post a contempt bond, the Court

   will   review     the    Complaint          and   determine       whether       it

   states a claim for relief that is plausible on its face,

   any such Complaint will be DISMISSED without any further

   judicial action 30 days from the date the Clerk receives

   the complaint, unless the Court orders otherwise. This

   automatic       dismissal    of        insubstantial            claims       ''will


   reduce    the    burden     of       paper-moving         and    explanation-

   writing,     conserving          a     little       judicial          time     for

   litigants who deserve attention." Alexander v. United

   States,    121    F.3d     312,       315    (7th    Cir.       1997).       Thus,

   although the Court will read and consider any future

   Complaint that plaintiff endeavors to file, it will not

   necessarily enter an order addressing it. If no order

   is forthcoming, then 30 after the Complaint's receipt

   the    Clerk      shall,     without          awaiting          any      further

   direction,       notify    Oliver        that       his    case       has     been

   dismissed without prejudice. The Clerk shall not issue

   a summons on any complaint filed without the required

   bond, without an order from the Court. If Oliver posts

   the    required     bond,        the    Clerk       shall       process        the
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       Complaint, including issuing the summons, according to

       normal procedures.

(Doc. 113 at 4-5; Doc. 115 at 1.) The Court also noted that Plaintiff

had filed a Notice of Voluntary Dismissal and instructed Plaintiff

that, due to the imposed filing restrictions. Plaintiff must file a

further notice to effectuate dismissal. (Doc. 115 at 2.) Plaintiff

appealed the Court's adoption order (Doc. 118); and the Eleventh

Circuit Court of Appeals dismissed the appeal as untimely on May 13,

2020 (Doc. 129). Since the denial of Plaintiff's appeal. Plaintiff

has failed to participate in this case and has failed to comply with

the imposed filing restrictions.

     Federal Rule of Civil Procedure 41(b) provides, in part: "If

the plaintiff fails to prosecute or to comply with these rules or a

court order, a defendant may move to dismiss the action or any claim

against it." As the Supreme Court has stated, "[t]he power to invoke

this sanction is necessary in order to prevent undue delays in the

disposition of pending cases and to avoid congestion in the calendars

of the District Courts." Link v. Wabash R.R. Co., 370 U.S. 626, 629-

30, 82 S. Ct. 1386, 1388, 8 L. Ed. 2d 734 (1962). Similarly, under

Local Rule 41.1(b) and (c) "the assigned Judge may, after notice to

counsel of record, sua sponte, or on motion of any party, dismiss

any action for want of prosecution, with or without prejudice" for

"[w]illful disobedience or neglect of any order of the Court; or

. . . [a]ny other failure to prosecute a civil action with reasonable
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promptness." S.D.      Ga.   L.   R.   41.1.     In this    case,   Plaintiff    has

willfully disobeyed the Court's order and failed to comply with the

conditions imposed. As of today, Plaintiff has not posted the $1,000

contempt bond required by this Court's order. Moreover, Plaintiff

has   an   extensive   history    of    filing    actions    in   this   Court   and

subsequently failing to abide by the Court's rules, procedures, and

orders.1 Accordingly, the Court finds that dismissal of Plaintiff's

complaint is appropriate under Rule 41(b) and Local Rule 41.1. As a

result, the Court DISMISSES Plaintiff's claims WITHOUT PREJUDICE.

                                   CONCLUSION


      For the foregoing reasons. Plaintiff's complaint (Doc. 1) is

DISMISSED    WITHOUT PREJUDICE.        Accordingly, the       following    pending

motions are DISMISSED AS MOOT: Docs. 25; 32; 33; 43; 58; 59; 63;

67; 71; and 73. The Clerk of Court is DIRECTED to close this case,

      so ORDERED this        /    day of November 2020.




                                       WILLIAM T. MOORE, JI
                                       UNITED STATES   DISTRICT COURT
                                       SOUTHERN   DISTRICT   OF GEORGIA


1 In other cases. Plaintiff's abusive litigation practices have led
to the imposition of comprehensive filing restrictions and, in some
instances, dismissal of the case for failure to obey court orders.
Oliver v. County of Chatham, et al., No. CV417-101, 2018 WL 2449201,
at *1 (S.D. Ga. May 31, 2018) (dismissing case with prejudice);
Oliver v. Massey, No.: 418-cv-213, 2020 WL 6143558, at *1 (S.D. Ga.
Oct. 19, 2020); Oliver v. City of Pooler, No. CV418-100, Doc. 79 at
6 (S.D. Ga. Oct. 29, 2020) ("[T]he court has no reason to believe
that Plaintiff s disregard of his obligations as a litigant will be
rectified by an order imposing sanctions lesser than dismissal with
prejudice.").
                                         4
